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 3
 4    Peter N. Kapetan, #138068
 5    Attorneys for:   Plaintiff Kimberly Barsamian
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11    KIMBERLY BARSAMIAN,                                      Case No. 1:07-cv-00316 OWW/GSA_
12
                       Plaintiff,
13
      v.
14                                                             PETITION AND ORDER FOR
                                                               SUBSTITUTION OF TRUSTEE ON
15    CITY OF KINGSBURG, MARTIN                                BEHALF OF PLAINTIFF
      SOLIS, individually and in his official                  KIMBERLY BARSAMIAN
16    capacity as a Police Officer for the City of
      Kingsburg Police Department, and DOES
17    1 through 100, inclusive.
18
                       Defendants.
19
20
              Petitioner states as follows:
21
              1.       I, Brian Barsamian am the biological father of Kimberly Barsamian.
22
              2.       The action in this court against City of Kingsburg, et al., was commenced on
23
      May 23, 2006, for personal injuries, negligence, sexual assault, negligent infliction of
24    emotional distress, intentional infliction of emotional distress, and assault and battery.
25            3.       On May 11, 2009, the Court appointed Cathy Mauer, maternal aunt of Kimberly
26    Barsamian, to act as Trustee regarding the assets of settlement on behalf of Kimberly
27    Barsamian in this matter.        The appointment of a Trustee was required due to Plaintiff’s

28    ongoing psychological and narcotics abuse issues.



                                                         1
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                4.     Cathy Mauer has informed plaintiff’s counsel, Peter N. Kapetan, that she is no
 1
      longer willing to act as Trustee on behalf of Kimberly Barsamian.
 2
                6.     I, Brian Barsamian, whose address is 2200 Sierra Street, Kingsburg, California,
 3    am a competent and responsible person, and fully competent to act as my daughter, Kimberly
 4    Barsamian’s trustee in place and stead of Cathy Mauer.
 5              7.     I, Brian Barsamian, am willing to act as Trustee regarding the assets of the
 6    settlement reached in this matter on behalf of my daughter.

 7              WHEREFORE, petitioner, Brian Barsamian moves the court for an order appointing
      him as Trustee for Kimberly Barsamian for the managing of the settlement proceeds reached in
 8
      this matter on May 11, 2009.
 9
      DATED: August 27, 2009.
10
11                                                    By /s/ Brian Barsamian_____________________
                                                           Brian Barsamian
12
13
                              CONSENT OF WITHDRAWAL OF NOMINEE
14
                I, Cathy Mauer, consent to withdraw as Trustee for Kimberly Barsamian in the above
15
      action.
16
17    DATED: August 27, 2009.                         By: /s/ Cathy Mauer_______________________
18                                                            Cathy Mauer

19
                                                    ORDER
20
21              The petition for an order appointing Brian Barsamian as Trustee in place and stead of
      Cathy Mauer for Kimberly Barsamian is GRANTED.
22
      DATED: 8/29/2009
23
24
25                                      /s/ OLIVER W. WANGER
                                    UNITED STATES DISTRICT JUDGE
26
27
28


                                                       2
                                  PETITION AND ORDER FOR SUBSTITUTION OF TRUSTEE
